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~AO 2458     (Rev. 9/00) Judgment in a Criminal Case                                                      CLERK, u..~.
                                                                                                                     DISTRt~i COURT
             Sheet 1                                                                                  SOUTHERN
                                                                                                      BY          DISTRICT
                                                                                                                   /\             -~r:
                                                                                                                         ~. OF--OAuFORNfA


                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                                  v.                                    (For Offenses Committed On or After November 1. 1987)

                         Jeysa Rivera                                   Case Number: 06CR2076-W

                                                                       Michelle Anderson
                                                                        Defendant's   Attorney
REGISTRA nON       NO. 99957198
THE DEFENDANT:
X    pleaded guilty to count(s)         one of the information

     Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:
                                                                                                                                       Count
Title & Section                    Nature of Offense                                                                                 Number{s)
21 use 952 & 960: 18 use 2             Importation of Cocaine                                                                                  1




  The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.



X Assessment:     $ 100.00 payable forthwith.
X Fine ordered waived.

of name, IT IS ORDERED
          residence,       that the
                     or mailing     defendant
                                 address until shall  notify
                                               all fines,    the Unitedcosts,
                                                           restitution,  Statesand
                                                                                 attorney
                                                                                    specialforthis district imposed
                                                                                            assessments      within 30bydays
                                                                                                                         this of any change
                                                                                                                              judgment   are
fully
in thepaid. If ordered
       defendant's     to pay restitution,
                    economic               the defendant shall notify the court and United States attorney of any material change
                               circumstances.
AD 245B
               Case 3:06-cr-02076-W
              (Rev. 9/00) Judgment in Criminal Case
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              Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page   ..1    of
DEFENDANT:                       Jeysa Rivera
CASE NUMBER:                     06CR2076- W


                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
30 months.




X         The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends consideration for the Bureau of Prisons, 500 hour, long term, drug treatment program.




o         The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

                      _________                       0 a.m.      o p.m.       on

          o      as notified by the United States Marshal.

o         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o      before 2 p.m. on

          o      as notified by the United States Marshal.

          o      as notified by the Probation or Pretrial Services Office.



                                                                     RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                           to

at   _______________                                   , with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL

                                                                             By
                                                                                             DEPUTY UNITED STATES MARSHAL
AD 2458
              Case 3:06-cr-02076-W
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             Sheet 3 - Supervised Release
                                                                                                         Judgment-Page      ---.l- of --4
  DEFENDANT:                    Jeysa Rivera
  CASE NUMBER:                  06CR2076-W
                                                         SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years.
                                                       MANDATORY CONDITIONS

       The defendant shall reIJort to the probation office in the district to which the defendant is released within 72 hours of release from
  the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.

  The defendant shall not illegally possess a controlled substance.
  For offellses committed      011   or after September 13. 1994:
        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests thereafter.
  o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse.

          The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

               Drug testing requirements will not exceed submission of more than eight drug tests per month during the term of supervision,
               unless ordered by the Court.
               The
               If thisdefendant
                       judgment shall cooperate
                                 imposes  a fine as
                                                 or directed   in the
                                                    a restitution     collectionit of
                                                                   obligation,        a DNA
                                                                                   shall       sample, pursuant
                                                                                         be a condition          to 18 release
                                                                                                        of supervised  USC 3583(d)
                                                                                                                               that the defendant pay
          any such fine
          Schedule      or restitutIon
                   of Payments           that in
                                   set forth   remains   unpaid at the commencement
                                                 this judgment.                        of the term of supervised release in accordance with the

       The defendant shall comply with the standard conditions that have been adopted by this court.              The defendant shall also comply
  with any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION

  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
          of each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)
          theadefendant
          of             shall granted
               felony, unless  not associate with any
                                       permission      persons
                                                   to do so by engaged  in criminal
                                                               the probation  officer;activity and shall not associate with any person convicted
 10)
          the defendant
          of any         shall ooserved
                 contraband     permit a probation  officer
                                         In plain view       to probation
                                                        of the  visit him or  her at any time at home or elsewhere and shall permit confiscation
                                                                           officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant's compliance with such notification requirement.
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            Sheet 3 - Continued 2 - Supervised Release

                                                                                                      Judgment-Page ----4....- of ------4.
DEFENDANT:                 Jeysa Rivera
CASE NUMBER:               06CR2076-W


                                               SPECIAL CONDITIONS           OF SUPERVISION

          The defendant shall not possess fireanns, explosive devices, or other dangerous weapons.
          The defendant shall submit to search of Qerson, property, residence, abode or vehicle, at a reasonable time and in
          a reasonable manner, by the probation officer or otlier law enforcement officer.
          The defendant shall report all vehicles owned, operated, or in which the defendant has an interest to the probation officer.
          The defendant shall not enter or reside in the Republic of Mexico without the pennission of the probation officer.
          The defendant shall participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling,
          as directed by the probation officer. Tne defendant may be required to contribute to the costs of services rendered in an
          amount to be detennined by the probation officer, based on the defendant's ability to pay. Drug testing requirements will not
          exceed submission of more than eight drug tests per month during the tenn of supervtsion, unless by order of the Court.

          The defendantas shall
          medications           participate
                          prescribed        in a program of mental and
                                       by a psychiatrist/physician, health
                                                                        not treatment
                                                                             discontinueas directed by the probation
                                                                                           any medication            officer, takeThe
                                                                                                           without pennission.     all Court
          authorizes by
          approved    thethe
                           release of theofficer.
                              probation   presentence  report andmay
                                                  The defendant   available psychological
                                                                     be required           evaluations
                                                                                 to contribute         to the
                                                                                               to the costs of mental
                                                                                                               serviceshealth provider,
                                                                                                                         rendered  in an as
          amount to De detennined by the probation officer, based on tlie defendant's ability to pay.

          The defendant shall not associate with any members of associates of "Southside" or any other street gang. Not wear or
          possess any item of affiliation with "Soutnside" or any other street gang.

          Thecredit
          of   defendant
                    withoutshall be prohibited
                             approval          from opening
                                       of the probation       checking accounts or incurring new credit charges or opening additional lines
                                                        officer.
